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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                                    DETROIT


ADAM BONAREK,

       Plaintiff                                   Case No. 2:17-cv-10070-BAF-SDO
                                                   Hon. Bernard A. Friedman
V                                                  Magistrate Judge Stephanie Dawkins Davis

EXPERIAN INFORMATION SOLUTIONS INC.,
TRANS UNION, LLC, and EQUIFAX INFORMATION
SERVICES, LLC.

       Defendants.
                                                                                        /

                         NOTICE OF VOLUNTARY DISMISSAL

       Plaintiff, ADAM BONAREK, through his attorneys, XUEREB LAW GROUP PC, by John

R. Badeen, hereby gives notice that he is voluntarily dismissing defendant, EQUIFAX

INFORMATION SERVICES, LLC, with prejudice and without costs to either party pursuant to the

Federal Rules of Civil Procedure Rule 41(a)(1)(A) and 41(a)(1)(B).

                                            Respectfully submitted,

                                            XUEREB LAW GROUP PC


                                            By: _/s/ John R. Badeen______________
                                                 John R. Badeen (P71014)
                                                 Attorneys for plaintiff
                                                 7752 N. Canton Center Rd.
                                                 Suite 110
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Dated: April 11, 2017
